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                           EXHIBIT K
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Case:17-03283-LTS Doc#:19997-3 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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Case:17-03283-LTS Doc#:19997-3 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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Case:17-03283-LTS Doc#:19997-3 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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Case:17-03283-LTS Doc#:19997-3 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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Case:17-03283-LTS Doc#:19997-3 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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             Proposed Notice K - Alejandro J. Irizarry Sp Page 13 of 17
Case:17-03283-LTS Doc#:19997-3 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
             Proposed Notice K - Alejandro J. Irizarry Sp Page 14 of 17
Case:17-03283-LTS Doc#:19997-3 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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Case:17-03283-LTS Doc#:19997-3 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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Case:17-03283-LTS Doc#:19997-3 Filed:02/02/22 Entered:02/02/22 18:09:18   Desc:
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